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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

REYES HERNANDEZ, for himself and
on behalf of those similarly situated

                  Plaintiff,

v.                                                          Case No.: 2:18-cv-244-FtM-38NPM

ROCK SOLID COUNTER TOPS &
MORE, INC. and HUGO VARGAS,

                Defendants.
                                                  /

                                                ORDER1

        Before the Court is United States Magistrate Judge Nicholas P. Mizell’s Report and

Recommendation. (Doc. 47). Judge Mizell recommends granting the Joint Motion for

Approval of Settlement Agreement (Doc. 44) and approving the Settlement Agreement

and Full and Final Release of Claims as a “fair and reasonable resolution of a bona fide

dispute” of the parties’ Fair Labor Standards Act issues. Neither party objects to the

Report and Recommendation, and the time to do so has expired. The Report and

Recommendation is ripe for review.

        A district judge “may accept, reject, or modify in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1). The district

judge “shall make a de novo determination of those portions of the report or specified



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proposed findings or recommendations to which objection is made.” Id. And “[t]he judge

may also receive further evidence or recommit the matter to the magistrate judge with

instructions.” Id.

       After examining the file independently, and upon considering Judge Mizell’s

findings and recommendations, the Court accepts and adopts the Report and

Recommendation.

       Accordingly, it is now

       ORDERED:

       (1) The Report and Recommendation (Doc. 47) is ACCEPTED and ADOPTED

           and the findings incorporated therein.

              a. The Joint Motion for Approval of Settlement Agreement (Doc. 44) is

                     GRANTED.

              b. The Settlement Agreement and Full and Final Release of Claims is

                     APPROVED as a “fair and reasonable resolution of a bona fide dispute”

                     of the parties’ Fair Labor Standards Act issues.

       (2) The above-captioned case is DISMISSED with prejudice.

       (3) The Clerk is DIRECTED to enter judgment, terminate any pending motions and

           deadlines, and close the file.

       DONE and ORDERED in Fort Myers, Florida this 2nd day of October 2019.




Copies: All Parties of Record




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